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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


OWEN ARENT, Individually and on ) Civ. No. 5:21-11618-JEL-APP
Behalf of All Others Similarly Situated, )
                                         ) CLASS ACTION
                         Plaintiff,      )
                                           STIPULATION AND ORDER
                                         )
                v.
                                         )
ROCKET COMPANIES, INC., et al., )
                                         )
                         Defendants. )
                                         )


      Plaintiff Owen Arent (“Plaintiff”), and Defendants Rocket Companies, Inc.,

Jay D. Farner, Julie R. Booth, Robert Dean Walters, and Daniel Gilbert

(“Defendants”) (collectively, the “Parties”), hereby stipulate and agree as follows:

      WHEREAS, on July 13, 2021, Plaintiff filed a complaint captioned Arent v.

Rocket Companies, Inc., No. 5:21-cv-11618 (the “Complaint”), a putative class

action arising under the Securities Exchange Act of 1934 (“Exchange Act”),

including the Private Securities Litigation Reform Act (“PSLRA”), 15 U.S.C. §78u-

4, against Defendants;

      WHEREAS, all Defendants have either been served with the Complaint or

agreed to waive service;

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      WHEREAS, on June 29, 2021, plaintiff Zoya Qaiyum filed a substantially

similar putative class action arising out of the same set of facts and circumstances as

the existing Complaint which also asserted claims against Defendants under the

Exchange Act and the PSLRA, captioned Qaiyum v. Rocket Companies, Inc., No.

5:21-cv-11528 (the “Qaiyum Action”);

      WHEREAS, Section 21D(a)(3)(A)(i) of the PSLRA, 15 U.S.C. §78u-

4(a)(3)(A)(i), requires a plaintiff to cause public notice to be published within twenty

(20) days of filing a putative class action that arises under the PSLRA, which notice

plaintiff in the Qaiyum Action caused to be published on June 29, 2021;

      WHEREAS, motions for appointment of lead plaintiff and lead counsel

pursuant to Section 21D of the PSLRA will be filed with the Court on or before

August 30, 2021 (sixty (60) days after notice was published to the purported class

that is not a Saturday, Sunday, or legal holiday);

      WHEREAS, under the PSLRA, the Court must first decide any motions to

consolidate before deciding motions for appointment of lead plaintiff and lead

counsel, including motions to consolidate the above-captioned action and the

Qaiyum Action; and

      WHEREAS, the Parties agree that, for reasons of judicial efficiency and

economy, conservation of time and resources, and orderly management of this

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action, Defendants should not respond to the existing Complaint and any further

complaints that may be filed arising out of the same set of facts and circumstances

as set forth in the existing Complaint, individually, but rather, should withhold

responding to any of these actions until after: (i) the Court has had the opportunity

to determine any motions to consolidate the above-captioned action with other

actions; (ii) the Court has appointed lead plaintiff and lead counsel; and (iii) the lead

plaintiff has filed a consolidated complaint or designated the Complaint as the

operative complaint.

      NOW THEREFORE IT IS HEREBY STIPULATED AND AGREED, by and

among the Parties hereto and subject to approval by the Court:

      1.     Defendants shall, and hereby do, accept service of the Complaint;

      2.     Defendants’ time to respond to the Complaint (by motion, answer, or

otherwise) shall be extended as described in paragraphs 4 and 5 below.

      3.     Within forty-five (45) days after entry of an Order appointing lead

plaintiff(s) and lead plaintiff’s counsel, lead plaintiff(s) shall either (i) advise

Defendants that lead plaintiff(s) deems the Complaint the operative complaint, or

(ii) file and serve a consolidated amended complaint (the “Amended Complaint”).

      4.     Defendants’ time to respond (by motion, answer, or otherwise) to the

Complaint or Amended Complaint is extended through and including forty-five (45)

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days after (i) notice to Defendants that lead plaintiff(s) deems the Complaint the

operative complaint, or (ii) service and filing of the Amended Complaint.

      5.     If Defendants elect to respond to the Complaint or Amended Complaint

by motion, (i) lead plaintiff(s)’ opposition to such motion shall be due forty-five (45)

days after service and filing of the opening papers on the motion, and

(ii) Defendants’ reply papers shall be due thirty (30) days after service and filing of

the opposition.

      6.     Except as to the defense of insufficiency of service of process, by

entering into this stipulation, Defendants do not waive, and hereby expressly

preserve, all potential defenses in this litigation, including but not limited to defenses

relating to venue or jurisdiction.

      IT IS SO STIPULATED.




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DATED: August 19,      Respectfully submitted,
       2021
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                       J. ALEXANDER HOOD II


                               /S/ J. Alexander Hood, II (with consent)
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                              *      *    *

                                  ORDER

    IT IS SO ORDERED.


DATE: August 25, 2021             S/JUDITH E. LEVY
                                  THE HONORABLE JUDITH E. LEVY
                                  UNITED STATES DISTRICT JUDGE




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